                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE

   GREG ADKISSON, et al.,                 )
             Plaintiffs,                  )
   v.                                     )   No.:   3:13-CV-505-TAV-HBG
   JACOBS ENGINEERING GROUP, INC., )
             Defendant.                   )
   ____________________________________)      Lead case consolidated with
   KEVIN THOMPSON, et al.,                )
             Plaintiffs,                  )
   v.                                     )   No.:   3:13-CV-666-TAV-HBG
   JACOBS ENGINEERING GROUP, INC., )
             Defendant.                   )
   ____________________________________)      as consolidated with
   JOE CUNNINGHAM, et al.,                )
             Plaintiffs,                  )
   v.                                     )   No.:   3:14-CV-20-TAV-HBG
   JACOBS ENGINEERING GROUP, INC., )
             Defendant.                   )
                                          )
   BILL ROSE,                             )
             Plaintiff,                   )
   v.                                     )   No.:   3:15-CV-17-TAV-HBG
   JACOBS ENGINEERING GROUP, INC., )
             Defendant.                   )
   ____________________________________)
   CRAIG WILKINSON, et al.,               )
             Plaintiffs,                  )
   v.                                     )   No.:   3:15-CV-274-TAV-HBG
   JACOBS ENGINEERING GROUP, INC., )
             Defendant.                   )
   ____________________________________)
   ANGIE SHELTON, as wife and next of kin )
   on behalf of Mike Shelton, et al.,     )
             Plaintiffs,                  )
   v.                                     )   No.:   3:15-CV-420-TAV-HBG
   JACOBS ENGINEERING GROUP, INC., )
             Defendant.                   )
   ____________________________________)




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   JOHNNY CHURCH,                         )
             Plaintiff,                   )
   v.                                     )   No.:   3:15-CV-460-TAV-HBG
   JACOBS ENGINEERING GROUP, INC., )
             Defendant.                   )
   ____________________________________)
   DONALD R. VANGUILDER, JR.,             )
             Plaintiff,                   )
   v.                                     )   No.:   3:15-CV-462-TAV-HBG
   JACOBS ENGINEERING GROUP, INC., )
             Defendant.                   )
   ____________________________________)
   JUDY IVENS, as sister and next of kin, )
   on behalf of JEAN NANCE, deceased,     )
             Plaintiff,                   )
   v.                                     )   No.:   3:16-CV-635-TAV-HBG
   JACOBS ENGINEERING GROUP, INC., )
             Defendant.                   )
   ____________________________________)
   ROBERT MUSE, et al.,                   )
             Plaintiffs,                  )
   v.                                     )   No.:   3:17-CV-282-TAV-HBG
   JACOBS ENGINEERING GROUP, INC., )
             Defendant.                   )
   ____________________________________)
   HARRY HEMINGWAY, et al.,               )
             Plaintiffs,                  )
   v.                                     )   No.:   3:17-CV-547-TAV-HBG
   JACOBS ENGINEERING GROUP, INC., )
             Defendant.                   )
   ____________________________________)
   VERNON D. ALLEN, et al.,               )
             Plaintiffs,                  )
   v.                                     )   No.:   3:18-CV-153-TAV-HBG
   JACOBS ENGINEERING GROUP, INC., )
             Defendant.                   )
   ____________________________________)
   JAMES ANDERSON, et al.,                )
             Plaintiffs,                  )
   v.                                     )   No.:   3:19-CV-219-TAV-HBG
   JACOBS ENGINEERING GROUP, INC., )
             Defendant.                   )
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                                            ORDER

          On September 29, 2021, the Court entered an order in these cases certifying various

   questions regarding the applicability of the Tennessee Silica Priorities Act to this case to

   the Tennessee Supreme Court [Doc. 795].1 Despite the Court’s intention that the Order

   was to be sent to the Tennessee Supreme Court, it has been brought to the Court’s attention

   that the Order was never sent to the Tennessee Supreme Court. Accordingly, the Clerk is

   hereby ORDERED to forward a copy of the Court’s Order, certifying issues to the

   Tennessee Supreme Court [Doc. 795] to the Tennessee Supreme Court, with all due haste,

   for filing and further proceedings as may be appropriate.

          IT IS SO ORDERED.


                                      s/ Thomas A. Varlan
                                      UNITED STATES DISTRICT JUDGE




          1
            Unless otherwise specified, all citations refer to the docket in Adkisson v. Jacobs,
   3:13-cv-505.
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